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15                                   UNITED STATES DISTRICT COURT

16                                NORTHERN DISTRICT OF CALIFORNIA

17                                       SAN FRANCISCO DIVISION

18   IN THE MATTER OF THE EXTRADITION                ) CASE NO. 3-19-71055 TSH
     OF ALEJANDRO TOLEDO MANRIQUE                    )
19                                                   ) NOTICE REGARDING DENIAL OF APPELLATE
                                                     ) STAY MOTION
20                                                   )
                                                     )
21                                                   )
                                                     )
22

23          The United States previously filed a Renewed Motion to Revoke Bail and Remand to Custody, in
24 light of the Secretary of State’s decision to surrender Toledo to Peru. DE 211. The Court held a hearing

25 on March 9, 2023. At that hearing, the Court indicated that it would take no action on the Motion in

26 light of the fact that Toledo’s motion to stay his extradition remained pending before the Ninth Circuit.

27 DE 218. The Court nevertheless indicated that it would take action if Toledo’s stay motion were denied.

28 Id. The Court requested that the parties inform it of any ruling by the Ninth Circuit. Id.


     NOTICE RE: DENIAL OF APPELLATE STAY MOTION
     CASE NO. 3-19-71055 TSH                                                                              1
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 1          Accordingly, the United States files this Notice to advise the Court that, earlier today, the panel

 2 that is considering Toledo’s appeal issued its Order denying Toledo’s stay motion. Although the panel

 3 found that Toledo had shown irreparable harm, it also found that he had failed to show likelihood of

 4 success on the merits or that the public interest favored the stay. The Ninth Circuit’s Order is attached

 5 hereto as Exhibit 1.

 6          For these reasons, and for the reasons set forth in the United States’ prior pleadings, the Court

 7 should revoke its order releasing Toledo on bail and should remand him to the custody of the United

 8 States Marshals Service forthwith. Once Toledo is in custody, the United States will arrange to execute

 9 his surrender to Peruvian authorities expeditiously thereafter, assuming that no legal impediments

10 thereto then exist. 1

11          Undersigned counsel advised counsel for Toledo that the United States would be filing this

12 Notice. Counsel for Toledo requested the United States communicate to the Court that they believe that

13 the Ninth Circuit’s order is temporarily stayed under Federal Rule of Appellate Procedure 41, and that

14 they would be filing a motion for a brief additional stay out of an abundance of caution, all purportedly

15 in order to enable Toledo to seek en banc reconsideration of the panel’s Order. The United States

16 intends to oppose any such motion.

17

18 DATED: April 5, 2023                                   Respectfully submitted,

19                                                        ISMAIL J. RAMSEY
                                                          United States Attorney
20

21                                                               /s/
                                                          KYLE F. WALDINGER
22                                                        Assistant United States Attorney
23
                                                          REBECCA A. HACISKI
24                                                        Acting Associate Director
                                                          Office of International Affairs
25

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            1
28             The U.S. District Court for the District of Columbia denied Toledo’s motion for a temporary
     restraining order and preliminary injunction on March 28, 2023. See Order, Toledo v. U.S. Dep’t of
     State, No. 23-627, Dkt. No. 12 (D.D.C. Mar. 28, 2023).
     NOTICE RE: DENIAL OF APPELLATE STAY MOTION
     CASE NO. 3-19-71055 TSH                                                                               2
